Case: 1:18-op-45152-DAP Doc #: 19-1 Filed: 11/16/20 1 of 8. PageID #: 235




              Exhibit A
               Case: 1:18-op-45152-DAP Doc #: 19-1 Filed: 11/16/20 2 of 8. PageID #: 236


 AO 399 (01/09) Waiver of the Service of Summons



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                             Northern District of Ohio

                     Baldwin County, Alabama                              )
                                  Plaintiff                               )
                            v.                                            )       Civil Action No. 1:18-op-45152
       Par Pharmaceutical, Inc., Par Pharmaceutical                       )
                   Companies, Inc.
                                 Defendant                                )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        Peter J. Mougey
                  (Name of the plaintiff’s attorney or unrepresented plaintiff)

         I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
            I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
           I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
          I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
 60 days from            5/3/2019                , the date when this request was sent (or 90 days if it was sent outside the
 United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

 Date:        June 5th, 2019
                                                                                                      /s/ Sean Morris
                                                                                        Signature of the attorney or unrepresented party
         Par Pharmaceutical Companies, Inc.                                                              Sean Morris
       Printed name of party waiving service of summons                                                   Printed name
                                                                                           Arnold & Porter Kaye Scholer LLP
                                                                                           777 S. Figueroa Street, 44th Floor
                                                                                             Los Angeles, California 90017
                                                                                                             Address
                                                                                             sean.morris@arnoldporter.com
                                                                                                         E-mail address
                                                                                                       (213) 243-4000
                                                                                                       Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the f ailure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
               Case: 1:18-op-45152-DAP Doc #: 19-1 Filed: 11/16/20 3 of 8. PageID #: 237


 AO 399 (01/09) Waiver of the Service of Summons



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                             Northern District of Ohio

                     Baldwin County, Alabama                              )
                                  Plaintiff                               )
                            v.                                            )       Civil Action No. 1:18-op-45152-DAP
       Par Pharmaceutical, Inc., Par Pharmaceutical                       )
                   Companies, Inc.
                                 Defendant                                )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        Peter J. Mougey
                  (Name of the plaintiff’s attorney or unrepresented plaintiff)

         I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
            I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
           I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
          I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
 60 days from             05/03/2019             , the date when this request was sent (or 90 days if it was sent outside the
 United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

 Date:        June 5th, 2019                                                                           /s/ Sean Morris
                                                                                        Signature of the attorney or unrepresented party
                  Par Pharmaceutical, Inc.                                                               Sean Morris
       Printed name of party waiving service of summons                                                   Printed name
                                                                                           Arnold & Porter Kaye Scholer LLP
                                                                                           777 S. Figueroa Street, 44th Floor
                                                                                             Los Angeles, California 90017
                                                                                                             Address
                                                                                             sean.morris@arnoldporter.com
                                                                                                         E-mail address
                                                                                                       (213) 243-4000
                                                                                                       Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the f ailure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
              Case: 1:18-op-45152-DAP Doc #: 19-1 Filed: 11/16/20 4 of 8. PageID #: 238


AO 399 (01109) Waiver of the Service of Summons                                                                                                121718


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                            Northern District of Ohio

                       Baldwin County, Alabama                               )
                              Plaintiff                                      )
                                 V.                                          )    Civil Action No. 1:18-op-45152-DAP
                 Publix Super Markets, Inc.                                  )
                             Defendant                                       )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:     Peter J. Mougey
             (Name of the plaintiff's al/orney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
rwo copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        The Court's moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date:   ---------
           06/10/2019
                                                                                             Signature of /he al/omey or unrepresented party

                 Publix Super Markets, Inc.                                                              Gregory S. Chernack
        Prinled name ofparly waiving service ofsummons                                                         Printed name
                                                                                                        1350 I Street NW
                                                                                                              FL 10
                                                                                                      Washington, D.C. 20005
                                                                                                                  Address

                                                                                                 gchernack@hollingsworthllp.com
                                                                                                              E-mail address

                                                                                                             202-898-5800
                                                                                                             Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the dcfendan1 shows good cause for the failure.
          '·Good cause'' does not include a belief that the lawsuit is groundless. or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.
        Jfthe waiver is signed and returned. you can still make these and all other defenses and objections. but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the cour l By signing and returning the waiver form, you are allowed more time to re.spond than if a summons had been served.
            Case: 1:18-op-45152-DAP Doc #: 19-1 Filed: 11/16/20 5 of 8. PageID #: 239



 AO 399 (01/09) Waiver of the Service of Summons




                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                              Northern District of Ohio

                     Baldwin County, Alabama                              )
                                  Plaintiff                               )
                                 v.                                       )       Civil Action No. 1:18-op-45152
------------------------
          Defendant
                             SpecGx, LLC                                  )
                                                                          )



                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        Peter J. Mougey
                  (Name of the plaintiff's attorney or unrepresented plaintiff)

         I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
            I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
           I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
          I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
 60 days from             5/3/2019              , the date when this request was sent (or 90 days if it was sent outside the
 United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:
                                                                                        Signature of the attorney or unrepresented party
                          SpecGX LLC                                                                  Andrew O'Connor
       Printed name ofparty waiving service of summons                                                    Printed name
                                                                                                  Ropes & Gray, LLP
                                                                                         Prudential Tower, 800 Boylston Street
                                                                                               Boston, MA 02199-3600
                                                                                                             Address
                                                                                           Andrew.O'Connor@ropesgray.com
                                                                                                         E-mail address
                                                                                                       (617) 951-7000
                                                                                                        Telephone number

                                              Duty to Avoid Unnecessary Expenses of Serving a Sum moos
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant's property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cam1ot object to the absence of
a summons or of service,
            If you wuivc service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the conn. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
               Case: 1:18-op-45152-DAP Doc #: 19-1 Filed: 11/16/20 6 of 8. PageID #: 240


 AO 399 (01/09) Waiver of the Service of Summons



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                             Northern District of Ohio

                    Baldwin County, Alabama                               )
                                  Plaintiff                               )
                           v.                                             )       Civil Action No. 1:18-op-45152
    Walmart Inc., (“Walmart”) formerly known as Wal-                      )
                    Mart Stores, Inc.,
                                 Defendant                                )
                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        Peter J. Mougey
                  (Name of the plaintiff’s attorney or unrepresented plaintiff)

         I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
            I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
           I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
 Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
 motion under Rule 12 will not be grounds for a default judgment.

 Date: 7/3/2019                                                                                    /s/ Tara A. Fumerton
                                                                                        Signature of the attorney or unrepresented party
       Walmart Inc. or Wal-Mart Stores East, LP                                                       Tara A. Fumerton
       Printed name of party waiving service of summons                                                   Printed name
                                                                                                        Jones Day
                                                                                                    77 W. Wacker Drive
                                                                                                     Chicago, IL 60601
                                                                                                             Address
                                                                                                tfumerton@jonesday.com
                                                                                                         E-mail address
                                                                                                       (312) 782-3939
                                                                                                       Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of s ervice requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the f ailure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
               Case: 1:18-op-45152-DAP Doc #: 19-1 Filed: 11/16/20 7 of 8. PageID #: 241


  AO 399 (01/09) Waiver of the Service of Summons



                                            UNITED STATES DISTRICT COURT
                                                                                 for the
                                                                        Northern District of Ohio

                       Baldwi n C ou nty, Ala ba ma                                     )
                                      Plaintiff                                         )
                                              V.                                         )   Civil Action No. I: l 8-op-45152
___A _m_ e_r _is_ou_ _rc_e_b e_ _r g_ e_ n D_ _ r_u_g_C_o_ r _p_o_ra_t_io_n_e_t a_ l_ __ )
                                    Defendant                                           )


                                                      WAIVER OF THE SERVICE OF SUMMONS

 To:          Peter J. Mou g ey
                    (Name of the plaintiff's attorney or unrepresented plCJ/11/i.JJ)

         I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
              I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
           I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
 60 days from        5/9/?Q I9 , the date when this request was sent (or 90 days if it was sent outside the United States). If
 I fail to do so, a default judgment will be entered against me or the        y
                                                                                                    �f'!JlifJA
 Date:          5};,_fffiq
                                                                         �t
                                                                                             �r �
                                                                                               �•
                                                                                                 Signature of the attorney or unrepresented party
                     Winn-Dixie Stores, Inc.                                                                 Daniel T. Plunkett
       Printed name of party waiving service of summons                                                           Printed name
                                                                                                          McGlinchey Stafford
                                                                                                        601 Poydras St. Suite 1200
                                                                                                         N ew Orleans, LA 70130
                                                                                                                    Address
                                                                                                       dplunkett@mcgl inchey .com
                                                                                                                 E-mail address
                                                                                                               (504) 596-2778
                                                                                                               Telephone number

                                                    Duty to Avoid Unnecessary Expenses of Serving a Summons
             RLLle 4 of the Federal Rules ol' Civil Procedure requires cer1ain defendants to co perntc in saving unnecessary expenslls of serving a
 summons and complaint. A ddc.nclnnl who is locntcd in the United States and who foils to retLu-n a signed waiver of service requested by a plaintiff
 located in tlu: United • lates will be required to pay the expenses f sorvlce unless the defendant shows good cause for the failure.
             "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
 no jurisdiction over this matter or over the defendant or the defendant's property.
             If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
 a summons or of service.
             If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
 plaintiff and file a copy with the court. By signing ruicl l'eturning the waiver form, you are allowed more time to respond lhan if a summons had been
 served.
               Case: 1:18-op-45152-DAP Doc #: 19-1 Filed: 11/16/20 8 of 8. PageID #: 242

AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         NorthernDistrict
                                                     __________   Districtofof__________
                                                                               Ohio

                 Baldwin County, Alabama                                     )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 1:17-md-2804-DAP
                           Harco, Inc.                                       )
                             Defendant                                       )   This document applies to: see attached list


                                            WAIVER OF THE SERVICE OF SUMMONS

To:      Peter J. Mougey
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.




Date:          06/10/2019
                                                                                            Signature of the attorney or unrepresented party

                           Harco, Inc.                                                                    Elisa P. McEnroe
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                 Morgan, Lewis & Bockius, LLP
                                                                                                        1701 Market St.
                                                                                                    Philadelphia, PA 19103
                                                                                                                 Address

                                                                                              elisa.mcenroe@morganlewis.ccom
                                                                                                             E-mail address

                                                                                                           (215) 963-5917
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
